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                            UNITED STATES DISTRICT COURT
  7
                           CENTRAL DISTRICT OF CALIFORNIA
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       ISSAC EFREN JIMENEZ,
 10                                                Case No. 2:20-cv-9662-AB (MAR)
                                 Petitioner,
 11
                           v.
 12                                                JUDGMENT
 13    RAYMOND MADDEN,
 14                              Respondent.
 15
 16
 17         Pursuant to the Order Accepting Findings and Recommendation of United

 18   States Magistrate Judge,

 19         IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.

 20
 21   Dated: October 28, 2021
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 23                                            HONORABLE ANDRÉ BIROTTE JR.
                                               United States District Judge
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